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IN THE UNITED STATES DlSTRICT COURT

FOR THE DISTRICT OF OREGON

KLAMATH SISKIYOU WlLDLANDS
CENTER, et al., Civil No. O6-l604-CL

Plaintiffs,
REPORT AND RECOMMENDATION
v.

UNITED STATES FoREsT
sERvIcE,

Defendant.

CLARKE, Magistrate Judge:

Plaintiffs Klamath Siskiyou Wildlands Center and Oregon
Wild(Plaintiffs) bring this action for declaratory and
injunctive relief against the United States Forest Service
(Forest Service) alleging that the Forest Service violated the
National Environmental Policy Act (NEPA), 42 U.S.C. §§ 4321 et

seq., and its implementing regulations, 40 C.F.R. §§ 1500-

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1508, by failing to assess significant changed circumstances
and new information relating to the Low Meadow Timber Sale on
the Rogue-Siskiyou National Forest (RSNF) in Oregon and
failing to prepare a new Environmental lmpact Statement (EIS)
or a Supplemental Environmental lmpact Statement (SEIS) before
proceeding with the sale.

Plaintiffs move to file a second amended complaint(#25).
Defendants, prior to plaintiffs' motion to amend, moved for
judgment on the pleadings (#16) on plaintiff's first and
second claims. Since the court recommends granting
plaintiffs' motion to amend (#25), the court will apply
defendant's motion for judgment on pleadings to the proposed
second amended complaint and construe it as a motion to
dismiss for lack of jurisdiction.

I- EAQI§

The following facts paraphrase plaintiffs' proposed
second amended complaint:

Plaintiffs seek a declaration that the Forest Service
violated federal law by failing to analyze and disclose to the
public the environmental effects of significant changed
circumstances and new information relating to the Low Meadow
Timber Sale on the RSNF and by failing to act consistently
with the survey and nanage requirements of the Northwest

Forest Plan (NWFP). (Proposed Second Amended Complaint Tl).

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Plaintiffs allege that Forest Service violated NEPA by failing
to prepare a new EIS or SEIS to address changed circumstances
and new information relevant to the Low Meadow Timber Sale.
(Id. at T3). Plaintiffs also allege the Forest Service has
violated the consistency provision of the National Forest
Management Act (NFMA), because the Low Meadow Timber Sale is
not consistent with the current survey and. manage
requirements. (Id.).

In 1996, the Chetco Ranger District in the RSNF completed
the original Environmental Assessment (EA), Decision Notice,
and Finding of No Significant lmpact (FONSI) for the Upper
Chetco Timber Sale and the Upper Chetco Meadow Restoration
Project. (Id. at I27). The EA included authorization for the
Low Meadow Timber Sale. (Id. at T28).

ln 1997, the Forest Service completed a Supplemental EA
(SEA) and issued a new Decision Notice and FONSI based on the
SEA. (Id. at I29). The Low Meadow portion of the Upper
Chetco Meadow Restoration SEA identified 150 acres for clear-
cutting. (Id. at IBO). The Low Meadow Timber Sale is located
in an Inventoried Roadless Area (IRA), designated Northern
Spotted Owl critical habitat, North Chetco Late-Successional
Reserve (LSR), key watershed, and recommended Chetco Wild and
Scenic River corridor. Riparian Reserves are located in or

adjacent to the planning area. (ld. at IBl). Although the

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Forest Service awarded the Low Meadow Timber Sale in 1997,
logging has not yet commenced. (Id. at I32).

In the ten years since the EA and the nine years since
the SEA, the following circumstances have changed and new
information uncovered:

a. In September 2004, the Sustainable Ecosystem Institute
prepared the Scientific Evaluation of the Status of the
Northern Spotted Owl as part of the status review process
required by the Endangered Species Act;

b. In September 2005, the Fish and Wildlife Service prepared
the Northwest Forest Plan Status Report on the Spotted Owl as
part of the status review process required by the Endangered
Species Act;

c. In 2002, the Biscuit Fire burned through the Low Meadow
planning area and proposed harvest units;

d. Due to the Biscuit Fire, the Low Meadow planning area has
been invaded by invasive species;

e. In 2005, the Forest Service changed the proposed action,
including noxious weed control, changes to the “no cut”
buffers, and other changes;

f. In 2004, the Forest Service developed new requirements
regarding practices to manage the spread of Port Orford Cedar
root disease;

g. In 2001, the Forest Service adopted new requirements for

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survey and manage species;

h. In 2006, the Ninth Circuit reinstated the 2001 requirements
to survey and manage for the red tree vole. Klamath Siskiyou
Wildlands Center v. Boodv, 468 F.3d 549 (9th Cir. 2006);

i. In 2006, the U.S. District Court for the Western District
of Washington reinstated the

survey and manage requirements for all species protected by
the program as of March 22, 2004. Northwest Ecosvstem Alliance
v. Rey, 2006 WL 44631 (Jan. 56, 2006);

j. The legal standard regarding' the purpose and role of
spotted owl critical habitat, including the validity of the
regulatory definition of “destruction or adverse modification”
of critical habitat, has changed, Gifford Pinchot Task Force
v. Fish and Wildlife Serv., 378 F.3d 1059 (9th Cir. 2004);
k. In 2000, the Clinton Administration implemented the
Roadless Area Conservation Rule (2000 Roadless Rule), which
prohibited timber harvesting in inventoried roadless areas;
l. In 2001, the Bush Administration rescinded the 2000
Roadless Rule, and instated a new rule (2001 Roadless Rule)
that would not have protected roadless areas in the same
manner as the 2000 Rule;

m. In 2006, the District Court of the Northern District of
California invalidated the 2001 Roadless Rule and reinstated

the 2000 Roadless Rule. Cal. ex rel. Lockver v. United

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States Dep't of Agric., 2006 U.S. Dist. LEXIS 72226 (D. Cal.
2006);

n. The Bureau of Land Management is currently engaging in the
Western Oregon Plan Revision (WOPR) process. The BLM is
considering several alternatives that would eliminate LSRs
from BLM land in western Oregon, increasing the importance of
LSRs on National Forest lands.

o. The United States Fish and Wildlife Service is currently
revising the critical habitat designation for the northern
spotted owl, and is drafting a recovery plan for the owl; and
p. In the ten years since the Forest Service initially decided
to proceed with the Low Meadow Timber Sale, it is likely that
other actions have occurred within the area that would
contribute to the cumulative effects of the proposed Low
Meadow Timber Sale. (Id. at 133).

Plaintiffs's First and Second claims are alternate
claims. Both claims allege that: NEPA requires an agency to
prepare a supplemental NEPA analysis when “[t]he agency makes
substantial changes in the proposed action that are relevant
to environmental concerns; or . . . [t]here are significant
new circumstances or information relevant to environmental
concerns and bearing on the proposed actions or its impacts.”
40 C.F.R. § 1502.9(c)(1). (Id. at 135 and 139). Events and

information including, but not limited to those listed in

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paragraph 33 constitute significant new circumstances or
information relevant to environmental concerns regarding the
proposed action. (Id. at 136 and 140).

The first clain1 for relief alleges that: The Forest
Service’s Decision Notice to proceed with the Low Meadow
Timber Sale and decision not to supplement and to continue to
proceed with the Low Meadow Timber Sale, memorialized in a
Memo to the Files (April 28, 2005), without analysis and
disclosure to the public of the environmental effects of these
significant changed circumstances and new information in a new
or supplemental EA for the Low Meadow Timber Sale is
arbitrary, capricious, and not in accordance with NEPA and
must be set aside in accordance with 5 U.S.C. § 706(2)(A).
(Id. at 137). In the alternative, the second claim for relief
alleges that: the Forest Service’s failure to prepare a
new or supplemental EA for the Low Meadow Timber Sale in light
of this new information is agency action unlawfully withheld
or unreasonably delayed. 5 U.S.C. § 706(1). (Id. at 141).

Defendants do not challenge plaintiff's third claim for
relief.

II. LEGAL STANDARDS
Rule 15
Fed.R.Civ.P. 15 governs amendments to the pleadings. lt

is within the court's discretion to grant or deny leave to

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amend, Acri v. International Ass'n of Machinists, 781 F.2d
1393, 1398 (9th Cir.), cert. denied, 479 U.S. 816, gert;
denied 479 U.S. 821 (1986). Leave to amend should be freely
given unless the opposing party makes a showing of undue
prejudice, bad faith, or dilatory motive on the part of the
moving party. See Martinez v. Newport Beach Citv, 125 F.3d
777, 785 (9th Cir. 1997), overruled on other grounds, Green v.
City of Tucson, 255 F.3d 1086 (9th Cir.), cert. dismissed, 533
U.S. 966 (2001). The party opposing the amendment has the
burden of demonstrating why leave to amend should not be
granted. Genetech Inc. v. Abbott Laboratories, 127 F.R.D.
529, 530-531 (N.D.Cal. 1989)(citations omitted).

“The following factors guide a court's determination of
whether a motion to amend should be granted: (1) undue delay;
(2) bad faith; (3) futility of amendment; and (4) prejudice to
the opposing party.” Forsvth v. Humana, Inc., 114 F.3d 1467,
1482 (9th Cir.), cert. denied, 522 U.S. 996 (1997), gert;
granted, 524 U.S. 936 (1998), cert. granted and judgment
affirmed, 525 U.S. 299 (1999) (citation omitted). Undue
delay, by itself may be insufficient to deny a Hmtion to
amend, but, when combined with other factors, denial could be
proper. Moronqo Band of Mission Indians v. Rose, 893 F.2d
1074, 1079 (9th Cir. 1990). “Prejudice to the opposing party

is the most important factor.” Jackson v. Bank of Hawaii, 902

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F.2d 1385, 1387-1388 (9th Cir. 1990)(citations omitted).
Rule 12

"A Rule 12(b)(1) motion may be treated as either a facial
or factual challenge to the court's subject matter
jurisdiction." Gould Electronics lnc. v. U.S., 220 F.3d 169,
176 (3rd Cir. 2000). The defendant makes a facial challenge
to jurisdiction.

In a facial challenge to jurisdiction, all the factual
allegations concerning jurisdiction are presumed true, and the
motion is successful if the plaintiffs fail to allege an
element necessary for subject matter jurisdiction. Titus v.
Sullivan, 4 F.3d 590, 593 (8th Cir. 1993)(citation omitted).
When jurisdictional challenges are based solely upon the
complaint, the complaint should not be dismissed unless it
appears beyond doubt that the plaintiff can prove no set of
facts in support of the clainn Hanford Downwinders Coalition,
lnc. v. Dowdle, 841 F.Supp. 1050, 1056 (E.D.Wash. 1993),
affirmed, 71 F.3d 1469 (9th Cir. 1995), affirmed, 76 F.3d 385
(9th Cir. 1996).

The party asserting jurisdiction bears the burden of
establishing jurisdiction. Dowdle, 841 F.Supp. at 1057
(citation and quotations omitted). lt is presumed that the
federal court lacks jurisdiction until it is established.

Kokkonen v. Guardian Life Ins. Co. of America, 511 US 375, 377

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(1994); La Reunion Francaise SA v. Barnes, 247 F.3d 1022, 1026
(9th Cir. 2001).
III. DISCUSSION

Motion to Amend

Plaintiffs move to file a second amended complaint to: 1)
add allegations regarding more significant changed
circumstances and new information to I33, including more
information on the environmental effects of the Biscuit Fire
and information on the legal requirements for survey and
manage species that apply to the Low Meadow Timber Sale; 2)
add the April 28, 2005 Memo to File, which reaffirms the 1997
Decision Notice as part of their First Claim; and 3) to add a
third claim for violation of the National Forest Management
Act consistency provision because it appears that the only
surveys completed in 1997 do not comply with the current
requirements for survey and manage species seeking to add a
claim for pre-judgment interest to the prayer for relief. In
support of their motion, plaintiffs argue that:
1) defendant will not be prejudiced if the complaint is
amended as the amendments are based upon the same nucleus of
facts as the First Amended Complaint;
2) the case is in early stages of litigation and is therefore
timely; and

3) plaintiffs' motion is made in good faith as plaintiffs had

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to substitute counsel and upon review of the motion for
judgment on the pleadings and the case file, new counsel
identified the three primary additions to the complaint
identified above.

In opposition, defendant argues that:
1) plaintiffs' motion to amend is untimely as it is not based
upon newly discovered facts ~ the Memo to File is dated April
28, 2005 and the information regarding survey and manage
species became known in two court decisions issued November 6,
2006 and January 9, 2006 respectively;
2) plaintiffs have failed to offer a plausible reason for
their failure to include these facts and claim in their prior
complaint;
3) plaintiffs' substitution of counsel does not justify their
delay;
4) defendant would be prejudiced by the amendment as the
Forest Service has already entered into a contract for the
operation of the project and operations are set to begin later
this summer;
5) defendant will also be prejudiced_ as its motion for
judgment on the pleadings is almost fully briefed and
plaintiffs should not be allowed to "change course at this
late date by adding facts and theories that were available

before they filed their original and First Amended Complaints.

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In reply, plaintiffs argue that:
1) the defendant is not prejudiced by the amendment and the
case relied upon by the defendant are distinguishable from
this case;
2) none of the case relied upon. by defendant disallowed
amendment based solely on the fact that plaintiff knew or
should have known of the cause of action when the original
complaint was filed;
3) the timber sale contract at issue has been in place since
1997 and the most recent contract was in place prior to the
original complaint being filed, therefore, noting has changed
between the time the original complaint was filed and the
filing of the motion to amend;
4) the contract also contains a provision which allows the
Forest Service to terminate the contract or suspend or modify
the contract to prevent environmental degradation or resource
damage, conduct environmental analysis or ensure consistency
with NEPA documents - granting the motion to amend will not
alter the Forest Service's position with regard to the
contract;
5) if leave to amend is granted, the full merits of the case
may be reached by the time the project is suppose to occur;
6) the contract also allows the Forest Service to delay or

interrupt operations due to appeals or litigation;

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7) Rule 15 favors leave to amend when justice so requires and
it is in the interests of justice that the full merits of the
case be heard and it is in the public interest that the NEPA
claims be decided; and

8) the passage of two months between substituting counsel and
filing the motion to amend is not undue delay - there is no
extraordinary delay as in the cases relied upon by defendant.

The court finds that the delay in moving to amend is not
extraordinary. Plaintiff's motion to amend is timely. §§§
Owens v. Kaiser Fdn. Health Plan, lnc., 244 F.3d 708, 712 (9th
Cir. 2001). The contract language, attached as Exhibit 4 to
defendant's Motion for Judgment on the Pleadings, allows for
delays to accommodate further environmental analysis or
litigation and, therefore, the amendments will not unduly
prejudice the defendant. Defendants have failed to show that
they would be prejudiced by this amendment. In addition, the
motion to amend was filed before the discovery deadline.

The court finds that the factors weigh in favor of
granting plaintiffs' leave to amend, In addition, the court
finds that it is in the interest of justice, judicial economy,
and the public interest to allow the plaintiffs to amend their

complaint,

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Motion to Dismiss

Defendants argue that the court lacks subject matter
jurisdiction over plaintiffs' first and second claims for
relief as:
1) plaintiffs' have failed to challenge any final action;
2) plaintiffs have failed to identify any remaining major
federal action with regards to the challenged timber sale
supplementation of an EA is required only if there remains
major federal action to occur - the Forest Service does not
have an obligation to supplement the Low Meadow Timber Sale
project, citing Norton v. Southern Utah Wilderness Alliance
(SUWA), 542 U.S. 55, 73 (2004) and Cold Mountain v. Garber,
375 F.3d 884, 894 (9th Cir. 2004); and
3) plaintiffs' claims against the 1997 Decision Notice and
FONSI are barred by NEPA's six year statute of limitations.

In response, plaintiffs argue that:
1) plaintiffs challenge under §706(2)(A) is supported. by
M;
2) plaintiffs have challenged final agency action in the form
of the 1997 Decision Notice which was reaffirmed by the 2005
Memo to File;
3) the statute of limitations does not begin to run until the
significant information and changed circumstances arise;

4) plaintiffs are not challenging a Forest Service program;

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5) plaintiffs have properly challenged the Forest Service's
failure to act pursuant to §706(1) - the Forest Service has a
mandatory duty to supplement its environmental analysis
pursuant to NEPA;

6) the Low Meadow Timber Sale meets the Marsh test as there is

 

major federal action yet to occur - logging;
7) §QWA does not overrule Marsh and is not applicable to this
case and Cold Mountain is distinguishable from this case; and
8) the Forest Service's own handbook demonstrates that
supplementation is required.

In reply defendant argues that:
1) the court lacks jurisdiction over plaintiffs' first claim
for relief as plaintiffs have failed to identify any
reviewable final agency action within the statute of
limitations;
2) the continuing claims doctrine does not apply to NEPA
claims;
3) plaintiffs have failed to allege the relevant agency action
related to their failure to supplement claim that occurred
within the last six years; and
4) plaintiffs' failure to act claim should be dismissed under
§QWA and. Cold. Mountain as there is no remaining federal

action.

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The court finds that plaintiffs have identified a final
agency decision within the last six years in their proposed
second amended complaint. Plaintiffs allege that in a Memo
to File dated April 28, 2005, the Forest Service made the
decision not to supplement the 1997 SEA and to continue to
proceed with the Low Meadow Timber Sale. In addition,
plaintiffs have identified new information that has come
into existence before the timber sale could be completed. The
Forest Service has a continuing duty under NEPA to examine
significant new circumstances and determine if supplementation
is required. 40 C.F.R. §1502.9(c)(1)(ii). Therefore, the
statute of limitations does not bar plaintiffs' claims.

The court finds that §QWA is not on point. In §QWA, the
BLM approved a land use plan. Later, an action was brought to
compel the BLM to prepare an SEIS, citing an increase in off-
road vehicle usage. The Court held that supplementation was
not necessary, because the only federal action at issue was
completed when the land use plan was approved. ld. at 73. The
Court emphasized that the land use plan was "generally a
statement of priorities" that "guides and constrains actions"
but does not ordinarily "prescribe them," ld. at 71, and which
document is "normally not used to make site-specific
implementation decisions." ld. at 70. Rather, any specific

project would be the subject of a more focused process. SUWA

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contrasted that general planning document to the partly-
completed dam.in Ma;§h, 490 U.S. 360 (1989), which was subject
to the SEIS regulation. "In Marsh, that condition [--that
there remains major Federal action to occur--] was metz the
dam. construction. project that gave rise to environmental
review was not yet completed." §QWA, 542 U.S. at 73.

ln Cold Mountain, the Forest Service issued a ten-year
permit to a state agency that sought to operate a loison
capture facility. The Complaint seeking an SEIS was not
commenced until two years later. By then, the only federal
action (issuance of the permit) had long since been completed.
ld. at 894.

In this case, the challenged timber sale at issue falls
under Ma;§h. The Decision Notice and FONSI are not mere
general planning documents that were complete when the forest
plan was finalized, but instead authorized site-specific
projects that have yet to be consummated. The Forest Service
made an additional decision in April 2005 when it determined
that supplementation of the 1997 SEA was unnecessary.

The court also finds that Marsh also controls with regard
to plaintiffs' first claim for relief. In Ma;§h, the court
found that "review of the narrow question before us whether
the Corps' determination that the FEISS need not be

supplemented should be set aside is controlled by the

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“arbitrary and capricious” standard of § 706(2)(A)." This
authority supports plaintiffs' argument that they may proceed
with their claims under both §706(1) and §706(2)(A).

A federal agency must prepare an SEIS when "[t]here are
significant new circumstances or information relevant to
environmental concerns and bearing on the proposed action or
its impacts.” 40 C.F.R. § 1502.9(c)(1)(ii). In this case
plaintiffs have pleaded specific changed circumstances and new
information and allege that these require a SEA. Plaintiffs
have alleged that in April 2005, the Forest Service decided
supplementation of the 1997 SEA was not required. At the
pleading stage plaintiffs' complaint states a claim for
requiring an agency to prepare a SEA. Therefore, plaintiffs'
claims should not be dismissed.

IV. RECOMMENDATION

Based on the foregoing, it is recommended that
plaintiff's motion to amend (#25) be granted and defendant's
motion for judgment on the pleadings (#16) be denied,

This recommendation is not an order that is immediately
appealable to the Ninth Circuit Court of ADDeals. Any notice
of appeal pursuant to Rule 4(a)(1), Federal Rules of Appellate
Procedure, should not be filed until entry of the district
court's judgment or appealable order. Obiections to this

Report and Recommendation, if anV, are due on June 5, 2007.

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If obiections are filed, anV responses to the objections are
due 14 days after the obiections are filed, Failure to timely
file objections to any factual determinations of the
Magistrate Judge will be considered a waiver of a party's
right to de novo consideration of the factual issues and will
constitute a waiver of a party's right to appellate review of
the findings of fact in an order or judgment entered pursuant

to the Magistrate Judge's recommendation.

 
 
 
 
  

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